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Morrell, Benjamin S.

From:                          Alex Raynor <alex.raynor@ompc-law.com>
Sent:                          Monday, May 22, 2023 12:30 PM
To:                            Morrell, Benjamin S.; Megan O'Malley
Cc:                            Fisher, Ian H.
Subject:                       Re: Lynch v. CCC - amended privilege log



Counsel,

Thank you for sending us your amended log. As this was sent after hours on Friday, we have just now had an
opportunity to review the entries we reference in our motion to compel. Based on your changes, we will agree
to withdraw our motion as to Entries 94, 113-115, and 117-121. We intend to send you updated language for
the background portion of our motion to account for this change. That said, we will continue to move on
Entries 95-98, 105, 107-110, 116, 123, and 183 as we do not believe these are privileged, even with your
amendments. Since there are no significant changes to the motion, we still expect to receive your portion by
noon tomorrow so that we can get this before the court as soon as possible.

Best,
Alex

From: Morrell, Benjamin S. <BMorrell@taftlaw.com>
Sent: Friday, May 19, 2023 6:11 PM
To: Megan O'Malley <momalley@ompc-law.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Lynch v. CCC - amended privilege log

Counsel,

Attached please find CCC’s amended ESI privilege log. Please let us know if you have any questions or
would like to discuss.

Thanks,

Ben


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